Case 2:05-cr-20228-SH|\/| Document 12 Filed 07/18/05 Page 1 of 2 Page|D 11

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Western Division 05 JUL |8 PH 5: |2
UNITED STATES OF AMERICA L__i i ; '
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'VS' Case NWEZM
ANTONIO PEGUES

 

ORDER OF DETENT|ON PENDING TRlAL
F|ND|NGS
In accordance with the Bail Refonn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECTlONS REGARD|NG DETENT|ON

ANTONIO PEGUES is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. ANTONIO PEGUES shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the Um`ted States marshal for
the purpose of an appearance in connection With a Court proceeding

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DIANE K. VESCOVO
UNITED STA'I`ES MAGISTRATE JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:05-CR-20228 Was distributed by faX, mail, or direct printing on
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PDA

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Honorable Sarnuel Mays
US DISTRICT COURT

